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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )   Case No. 4:20CR0309 RLW
v.                                      )
                                        )
SHANNON GIBSON,                         )
                                        )
                      Defendant.        )



                          ENTRY OF APPEARANCE

      Assistant Federal Public Defender Melissa K Goymerac enters her

appearance as appointed counsel of record for the Defendant Shannon

Gibson replacing all counsel who have previously appeared on behalf of the

Defendant.



                                    Respectfully submitted,


                                    /s/Melissa K Goymerac
                                    MELISSA K GOYMERAC        83550 VA
                                    Assistant Federal Public Defender
                                    1010 Market Street - Suite 200
                                    St. Louis, Missouri 63101
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                                    ATTORNEY FOR DEFENDANT
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                         CERTIFICATE OF SERVICE


I hereby certify that on 09/28/2020, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the Office of the United States Attorney.




                                    /s/ Melissa K Goymerac
                                    MELISSA K GOYMERAC 83550 VA
